           Case 1:18-cv-00563-JEB Document 28 Filed 11/08/18 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 CENTER FOR BIOLOGICAL
 DIVERSITY,

       Plaintiff,
                v.                                       Civil Action No. 18-563 (JEB)
 UNITED STATES DEPARTMENT OF
 STATE, et al.,

       Defendants.




                                            ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1.       Defendants’ Motion to Dismiss is GRANTED;

      2.       The First and Second Claims for Relief are DISMISSED WITHOUT

               PREJUDICE; and

      3.       If Plaintiff wishes to file an amended complaint, it must do so by December 10,

               2018.

IT IS SO ORDERED.

                                                           /s/ James E. Boasberg
                                                           JAMES E. BOASBERG
                                                           United States District Judge
      Date: November 8, 2018
